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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

VDPP, LLC,                                  )
     Plaintiff,                             )
                                            )       Civil Action No. 4:23-cv-02961
v.                                          )
                                            )
VOLKSWAGEN GROUP OF                         )
AMERICA, INC.,                              )       JURY TRIAL DEMANDED
    Defendant.                              )

                   PLAINTIFF’S ORIGINAL AMENDED COMPLAINT

        Plaintiff VDPP, LLC (“DPP”) files this Original Complaint and demand for jury trial

seeking relief from patent infringement of the claims of U.S. Patent No. 9,426,452 ("the ‘452

patent"), (referred to as the “Patent-in-Suit”) by Volkswagen Group of America, Inc.

(“Defendant” or “Volkswagen”).

     I. THE PARTIES

     1. Plaintiff VDPP is a company organized under the laws of Oregon with a principal place

of business located in Corvallis, Oregon.

     2. On information and belief, Defendant is a corporation organized and existing under the

laws of the State of Delaware, with a regular and established place of business located at 1 Lone

Star Pass, San Antomio, Texas 78264. On information and belief, Defendant sells and offers to

sell products and services throughout Texas, including in this judicial district, and introduces

products and services that perform infringing methods or processes into the stream of commerce

knowing that they would be sold in Texas and this judicial district. Defendant can be served with

process through their registered agent, Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808, at its place of business, or anywhere else it may be found.




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   II. JURISDICTION AND VENUE

   3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

   4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s

business contacts and other activities in the State of Texas and in this judicial district.

   5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this

District. Further, venue is proper because Defendant conducts substantial business in this forum,

directly or through intermediaries, including: (i) at least a portion of the infringements alleged

herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses of

conduct and/or deriving substantial revenue from goods and services provided to individuals in

Texas and this District.

   III. INFRINGEMENT

       A. Infringement of the ‘452 Patent

   6. On August 23, 2016, U.S. Patent No. 9,426,452 (“the ‘452 patent”, included as Exhibit A

and part of this complaint) entitled “Faster State Transitioning for Continuous Adjustable 3Deeps

Filter Spectacles Using Multi-Layered Variable Tint Materials” was duly and legally issued by

the U.S. Patent and Trademark Office. Plaintiff owns the ‘452 patent by assignment.




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       7. The ‘452 patent relates to an electrically controlled spectacle frame and optoelectronmic

lenses housed in the frame.

       8. Defendant maintains, operates, and administers systems, products, and services in the

field of motion pictures that infringes one or more of claims of the ‘452 patent, including one or

more of claims 1-4, literally or under the doctrine of equivalents. Defendant put the inventions

claimed by the ‘452 Patent into service (i.e., used them); but for Defendant’s actions, the

claimed-inventions embodiments involving Defendant’s products and services would never have

been put into service. Defendant’s acts complained of herein caused those claimed-invention

embodiments as a whole to perform, and Defendant’s procurement of monetary and commercial

benefit from it.

       9. Support for the allegations of infringement may be found in the preliminary exemplary

table attached as Exhibit B. These allegations of infringement are preliminary and are therefore

subject to change.

       10. Defendant has and continues to induce infringement. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., a system related to an

electrically controlled spectacle frame and optoelectronmic lenses housed in the frame) and

related services such as to cause infringement of one or more of claims 1-4 of the ‘452 patent,

literally or under the doctrine of equivalents. Moreover, Defendant has known of the ‘452 patent

and the technology underlying it from at least the filing date of the lawsuit.1 For clarity, direct

infringement is previously alleged in this complaint.

       11. Defendant has and continues to contributorily infringe. Defendant has actively

encouraged or instructed others (e.g., its customers and/or the customers of its related
1
    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.

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companies), and continues to do so, on how to use its products and services (e.g., a system

related to an electrically controlled spectacle frame and optoelectronmic lenses housed in the

frame) and related services such as to cause infringement of one or more of claims 1-4 of the

‘452 patent, literally or under the doctrine of equivalents. Moreover, Defendant has known of the

‘452 patent and the technology underlying it from at least the filing date of the lawsuit.2 For

clarity, direct infringement is previously alleged in this complaint.

       12. Defendant has caused and will continue to cause Plaintiff damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ‘452 patent.



       IV. JURY DEMAND

           Plaintiff hereby requests a trial by jury on issues so triable by right.

       V. PRAYER FOR RELIEF

WHEREFORE, Plaintiif prays for relief as follows:

     a.    enter judgment that Defendant has infringed the claims of the Patent-in-Suit;

    b.     award Plaintiff damages in an amount sufficient to compensate it for Defendant’s

           infringement of the Patent-in-Suit in an amount no less than a reasonable royalty or lost

           profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

           § 284;

     c.    award Plaintiff an accounting for acts of infringement not presented at trial and an award

           by the Court of additional damage for any such acts of infringement;

    d.     declare this case to be “exceptional” under 35 U.S.C. § 285 and award Plaintiff its

           attorneys’ fees, expenses, and costs incurred in this action;



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e.   declare Defendant’s infringement to be willful and treble the damages, including

     attorneys’ fees, expenses, and costs incurred in this action and an increase in the damage

     award pursuant to 35 U.S.C. § 284;

f.   a decree addressing future infringement that either (if) awards a permanent injunction

     enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

     subsidiaries, and those in association with Defendant from infringing the claims of the

     Patent-in-Suit, or (ii) awards damages for future infringement in lieu of an injunction in

     an amount consistent with the fact that for future infringement the Defendant will be an

     adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

     future infringement will be willful as a matter of law; and

g.   award Plaintiff such other and further relief as this Court deems just and proper.



                                           Respectfully submitted,

                                           Ramey LLP

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